Case 23-10831-MFW   Doc 956-2   Filed 02/07/24   Page 1 of 29




                      EXHIBIT A
                      Case 23-10831-MFW              Doc 956-2        Filed 02/07/24    Page 2 of 29
   Lordstown Motors Corp (DE)                                                                     120360.0001.8/4879069
   Lordstown Motors Corp.


                                                  ITEMIZED SERVICES BILL

   Date:     Description:                                        Attorney:             Hours:    Rate:    Amount:

BKAD - Asset Disposition - General

12/07/2023   Prepare and file miscellaneous asset sale           Patterson,              0.80   720.00    $ 576.00
             motion order                                        Morgan L. (2372)




12/07/2023   Email (x3) to/from M. Patterson regarding           Giobbe, Cynthia         0.70   370.00    $ 259.00
             asset sale notice (.2); prepare same for filing     M.* (10258)
             (.1); efile same (.1); coordinate same for filing
             (.1); email to A. Kroll regarding as-filed notice
             (.1); calendar deadlines (.1)




12/12/2023   Call with Fan He regarding miscellaneous            Patterson,              0.70   720.00    $ 504.00
             asset sale order (.3); address proposed order       Morgan L. (2372)
             regarding same (.4)




12/13/2023   Prepare/revise/file second sale notice of           Patterson,              1.10   720.00    $ 792.00
             miscellaneous assets                                Morgan L. (2372)




                                                             Page 2
                      Case 23-10831-MFW               Doc 956-2           Filed 02/07/24   Page 3 of 29
  Lordstown Motors Corp (DE)                                                                         120360.0001.8/4879069
  Lordstown Motors Corp.


12/13/2023   Prepare second notice of asset sale (.2);             Giobbe, Cynthia         0.40   370.00     $ 148.00
             prepare exhibits regarding same (.1); email           M.* (10258)
             (x2) to/from M. Patterson regarding same (.1)




12/13/2023   Prepare chart regarding second asset list             Giobbe, Cynthia         2.10   370.00     $ 777.00
             (1.6); email to A. Kroll regarding same (.1);         M.* (10258)
             email to M. Patterson regarding same (.1);
             prepare notice and exhibit for filing (.1); efile
             same (.1); coordinate service of same (.1)




12/14/2023   Prepare third notice of miscellaneous assets          Patterson,              0.70   720.00     $ 504.00
             sale                                                  Morgan L. (2372)




12/14/2023   Review/revise (first) certification of counsel        Giobbe, Cynthia         0.50   370.00     $ 185.00
             regarding first asset sale notice (.3); email to      M.* (10258)
             M. Patterson regarding same (.1); calendar
             objection deadline regarding (second) asset
             sale notice (.1)




12/15/2023   Review/revise and file third miscellaneous            Patterson,              1.20   720.00     $ 864.00
             asset sale notice (.4); address and file order        Morgan L. (2372)
             for miscellaneous asset sales (.8)




                                                                 Page 3
                     Case 23-10831-MFW              Doc 956-2        Filed 02/07/24   Page 4 of 29
  Lordstown Motors Corp (DE)                                                                    120360.0001.8/4879069
  Lordstown Motors Corp.


12/15/2023   Revise third asset sale notice (.1); email to A.   Giobbe, Cynthia       1.20   370.00     $ 444.00
             Kroll regarding same (.1); email to M.             M.* (10258)
             Patterson regarding same (.1); efile notice
             (.1); coordinate service of same (.1); calendar
             deadlines regarding same (.1); revise
             certification of counsel regarding first asset
             notice (.3); email to M. Patterson regarding
             same (.1); efile certification of counsel
             regarding first asset notice (.1); coordinate
             service of same (.1)

12/18/2023   Multiple correspondence with client regarding      Patterson,            0.20   720.00     $ 144.00
             status of miscellaneous asset sale order           Morgan L. (2372)




12/19/2023   Review entered order regarding first sale of       Giobbe, Cynthia       0.50   370.00     $ 185.00
             assets (.1); email to A. Kroll regarding same      M.* (10258)
             (.1); coordinate service of same (.1); email
             to/from to R. Aerabati regarding second asset
             sale notice (.2)




12/21/2023   Review and file COC regarding second               Patterson,            0.70   720.00     $ 504.00
             miscellaneous asset sale                           Morgan L. (2372)




12/22/2023   Prepare certification of counsel regarding         Giobbe, Cynthia       0.50   370.00     $ 185.00
             third asset sale notice (.4); email to M.          M.* (10258)
             Patterson regarding same (.1)




                                                            Page 4
                     Case 23-10831-MFW              Doc 956-2         Filed 02/07/24     Page 5 of 29
   Lordstown Motors Corp (DE)                                                                            120360.0001.8/4879069
   Lordstown Motors Corp.


12/27/2023   Email (x2) to/from F. He, A. Kroll, D. Detweiler   Giobbe, Cynthia           0.80     370.00        $ 296.00
             and M. Patterson regarding third asset sale        M.* (10258)
             notice (.2); revise certification of counsel
             regarding same (.3); email to D. Detweiler
             regarding filing of same (.2); efile COC,
             upload order (.1)




12/28/2023   Retrieve and review entered third asset sale       Giobbe, Cynthia           0.30     370.00        $ 111.00
             order (.1); coordinate service of same (.1);       M.* (10258)
             email to A. Kroll regarding same (.1)




                                                                                                                $ 6,478.00
                                                                                       Total for Task:

BKAV - Adversary

12/06/2023   Email (x4) to/from M. Patterson regarding          Giobbe, Cynthia           0.30     370.00        $ 111.00
             request for oral argument (.2); review docket      M.* (10258)
             regarding same (.1)




                                                                                                                 $ 111.00
                                                                                       Total for Task:

BKBD - Bar Date

12/21/2023   Prepare COC and review stipulation                 Patterson,                0.90     720.00        $ 648.00
             regarding SEC bar date                             Morgan L. (2372)




                                                             Page 5
                     Case 23-10831-MFW              Doc 956-2         Filed 02/07/24     Page 6 of 29
   Lordstown Motors Corp (DE)                                                                            120360.0001.8/4879069
   Lordstown Motors Corp.


12/22/2023   Review/revise/file stipulation for extending       Patterson,                0.80     720.00        $ 576.00
             SEC bar date                                       Morgan L. (2372)




12/22/2023   Revise certification regarding stipulation to      Giobbe, Cynthia           0.60     370.00        $ 222.00
             extend SEC bar date (.2); email (x3) to/from       M.* (10258)
             M. Patterson regarding same (.2); prepare
             COC for filing (.1); efile, upload order (.1)




12/28/2023   Prepare COC regarding second extension of          Giobbe, Cynthia           0.90     370.00        $ 333.00
             bar date with SEC (.5); email (x4) to D.           M.* (10258)
             Detweiler and R. Szuba regarding same (.2);
             prepare COC, order and stipulation for filing
             (.1); efile same upload order (.1)




                                                                                                                $ 1,779.00
                                                                                       Total for Task:

BKBO - Business Operations/Meetings with Debtor

12/19/2023   Prepare attestations regarding November            Giobbe, Cynthia           2.40     370.00        $ 888.00
             monthly operating reports (x3) (.3); review        M.* (10258)
             monthly operating reports (.3); email to F. He
             regarding same (.1); email to M. Patterson
             regarding same (.1); prepare monthly
             operating reports and supplemental notes for
             filing (x3) (.6); email to D. Kim regarding same
             (.1); efile same (.1); prepare amended
             monthly operating reports and supplemental
             notes for filing (x2) (.4); email to D. Kim
             regarding same; email to M. Patterson
             regarding same (.1); efile amended monthly
             operating reports (.2); coordinate service to
             U.S.T. (.1)

                                                                                                                 $ 888.00
                                                                                       Total for Task:

                                                             Page 6
                     Case 23-10831-MFW             Doc 956-2         Filed 02/07/24     Page 7 of 29
   Lordstown Motors Corp (DE)                                                                           120360.0001.8/4879069
   Lordstown Motors Corp.


BKCO - Claims Objections

12/04/2023   Address responses/revisions to first omnibus      Patterson,                0.70     720.00        $ 504.00
             claim objections                                  Morgan L. (2372)




12/05/2023   Draft/circulate COC regarding omnibus claims      Patterson,                0.80     720.00        $ 576.00
             objection                                         Morgan L. (2372)




12/05/2023   Email (x4) to/from M. Patterson regarding first   Giobbe, Cynthia           1.30     370.00        $ 481.00
             omnibus claims objection (.2); email to/from F.   M.* (10258)
             He and R. Szuba regarding same (.1);
             prepare certification of counsel, order and
             exhibits for filing (.6); prepare order upload
             exhibits (.2); efile same, upload order (.1);
             retrieve entered order, coordinate service of
             same (.1)



                                                                                                               $ 1,561.00
                                                                                      Total for Task:

BKD - Documentations/Plan Negotiation

12/01/2023   Revise and circulate confirmation order notice    Patterson,                1.60     720.00       $ 1,152.00
             (.4); review/revise confirmation order draft      Morgan L. (2372)
             (1.2)




                                                            Page 7
                     Case 23-10831-MFW           Doc 956-2         Filed 02/07/24   Page 8 of 29
  Lordstown Motors Corp (DE)                                                                  120360.0001.8/4879069
  Lordstown Motors Corp.


12/04/2023   Research precedent regarding plan injunction   Patterson,              2.20   720.00    $ 1,584.00
             and circulate                                  Morgan L. (2372)




12/08/2023   Review and address Plan                        Patterson,              0.60   720.00     $ 432.00
             objections/extensions                          Morgan L. (2372)




12/11/2023   Address potential confirmation hearing         Patterson,              0.60   720.00     $ 432.00
             adjournment                                    Morgan L. (2372)




12/14/2023   Draft/revise/file Fiberdyne voting COC and     Patterson,              0.80   720.00     $ 576.00
             order                                          Morgan L. (2372)




12/15/2023   Address rescheduling of confirmation hearing   Patterson,              0.70   720.00     $ 504.00
                                                            Morgan L. (2372)




                                                          Page 8
                      Case 23-10831-MFW              Doc 956-2        Filed 02/07/24     Page 9 of 29
   Lordstown Motors Corp (DE)                                                                            120360.0001.8/4879069
   Lordstown Motors Corp.


                                                                                                                $ 4,680.00
                                                                                       Total for Task:

BKE - Executory Contracts/Lease Agreements

12/05/2023   Work with White & Case regarding                    Patterson,               0.50     720.00        $ 360.00
             assumption of contracts                             Morgan L. (2372)




12/05/2023   Prepare notice regarding omnibus motion             Giobbe, Cynthia          2.70     370.00        $ 999.00
             authorization the assumption of executory           M.* (10258)
             contracts (.2); review omnibus motion,
             exhibits (1.1); assist in further revisions to
             motion, notice and exhibits (1.0); prepare
             same for filing (.2); efile same (.1); coordinate
             same (.1)




12/06/2023   Work with co-counsel regarding assumption           Patterson,               0.60     720.00        $ 432.00
             of contracts and potential revisions to same        Morgan L. (2372)




12/08/2023   Work with co-counsel regarding lease                Patterson,               0.60     720.00        $ 432.00
             rejection issues                                    Morgan L. (2372)




                                                             Page 9
                    Case 23-10831-MFW             Doc 956-2        Filed 02/07/24   Page 10 of 29
  Lordstown Motors Corp (DE)                                                                  120360.0001.8/4879069
  Lordstown Motors Corp.


12/11/2023   Review/revise and file revised assumption         Patterson,            1.80   720.00   $ 1,296.00
             notice (.8); call with Fan He regarding same      Morgan L. (2372)
             (.4); address additional revisions to
             assumption (.6)




12/11/2023   Prepare notice regarding revised order to         Giobbe, Cynthia       2.40   370.00    $ 888.00
             assumption motion (1.0); email (x3) to/from M.    M.* (10258)
             Patterson regarding same (.1); assist in
             preparation of notice, order redline for filing
             (1.0); email to M. Patterson regarding same
             (.1); efile same (.1); coordinate service of
             same (.1)




12/12/2023   Address revisions and comments to first           Patterson,            0.80   720.00    $ 576.00
             omnibus assumption order                          Morgan L. (2372)




12/14/2023   Review emails and docket regarding Motion         Detweiler,            0.20   845.00    $ 169.00
             to assume certain executory contracts             Donald J.
                                                               (10135)




12/18/2023   Review draft rejection motion                     Patterson,            1.10   720.00    $ 792.00
                                                               Morgan L. (2372)




                                                            Page 10
                     Case 23-10831-MFW             Doc 956-2      Filed 02/07/24    Page 11 of 29
   Lordstown Motors Corp (DE)                                                                        120360.0001.8/4879069
   Lordstown Motors Corp.


12/19/2023    Prepare notice regarding second omnibus          Giobbe, Cynthia        0.20     370.00         $ 74.00
              motion authorizing the rejection of              M.* (10258)
              leases/contracts




12/20/2023    Revise and circulate order approving             Patterson,             0.60     720.00        $ 432.00
              assumption                                       Morgan L. (2372)




12/22/2023    Review/revise/file second rejection motion       Patterson,             0.90     720.00        $ 648.00
                                                               Morgan L. (2372)




12/22/2023    Prepare second omnibus rejection motion for      Giobbe, Cynthia        0.70     370.00        $ 259.00
              filing (.2); email to M. Patterson regarding     M.* (10258)
              same (.1); email to R. Szuba regarding same
              (.1); efile motion (.1); coordinate service of
              same (.1); calendar objection deadline (.1)




                                                                                                            $ 7,357.00
                                                                                   Total for Task:

BKF - Fee Application/Monthly Billing




                                                           Page 11
                    Case 23-10831-MFW            Doc 956-2     Filed 02/07/24   Page 12 of 29
  Lordstown Motors Corp (DE)                                                              120360.0001.8/4879069
  Lordstown Motors Corp.


12/13/2023   Address WBD fee approval                       Patterson,           0.20   720.00    $ 144.00
                                                            Morgan L. (2372)




12/13/2023   Email (x2) to/from M. Patterson regarding      Giobbe, Cynthia      0.10   370.00     $ 37.00
             CNO regarding WBD first monthly fee            M.* (10258)
             application




12/13/2023   Efile CNO regarding WBD first monthly fee      Giobbe, Cynthia      0.10   370.00     $ 37.00
             application                                    M.* (10258)




12/19/2023   Prepare WBD second monthly fee application     Giobbe, Cynthia      0.60   370.00    $ 222.00
             (.5); prepare notice regarding same (.1)       M.* (10258)




12/20/2023   Prepare monthly fee application                Patterson,           0.60   720.00    $ 432.00
                                                            Morgan L. (2372)




                                                         Page 12
                    Case 23-10831-MFW             Doc 956-2      Filed 02/07/24    Page 13 of 29
   Lordstown Motors Corp (DE)                                                                       120360.0001.8/4879069
   Lordstown Motors Corp.


12/20/2023   Revise WBD second monthly fee application        Giobbe, Cynthia        1.20     370.00        $ 444.00
             (1.0); prepare notice regarding same (.1);       M.* (10258)
             email to M. Patterson regarding same (.1)




12/27/2023   Revise WBD second monthly fee application        Giobbe, Cynthia        0.50     370.00        $ 185.00
             (.4); email to D. Detweiler and M. Patterson     M.* (10258)
             (.1)




                                                                                                           $ 1,501.00
                                                                                  Total for Task:

BKFO - Fees of Others

12/01/2023   Email to/from S. Ludovici and D. Turetsky        Giobbe, Cynthia        0.90     370.00        $ 333.00
             regarding W&C third monthly CNO (.1); email      M.* (10258)
             to D. Detweiler regarding same (.1); efile
             same (.1); email to/from S. Harbuck and S.
             Ludovici regarding KCC fourth monthly fee
             application (.1); prepare notice regarding
             same (.1); prepare notice, application and
             exhibits regarding same (.1); efile same (.1);
             coordinate service (.1); calendar deadlines
             (.1)

12/04/2023   Review first interim index and binder (.9);      Giobbe, Cynthia        1.70     370.00        $ 629.00
             email (x3) to/from M. Patterson and D.           M.* (10258)
             Detweiler regarding same (.1); coordinate
             binder to Chambers (.1); email to Chambers
             regarding same (.1); review/revise
             certification of counsel, order and chart
             regarding interim fees (.4); email to M.
             Patterson regarding same (.1)




                                                           Page 13
                     Case 23-10831-MFW            Doc 956-2       Filed 02/07/24   Page 14 of 29
  Lordstown Motors Corp (DE)                                                                 120360.0001.8/4879069
  Lordstown Motors Corp.


12/05/2023   Address interim fee hearing preparation           Patterson,           0.90   720.00    $ 648.00
                                                               Morgan L. (2372)




12/05/2023   Email to/from S. Ludovici regarding interim       Giobbe, Cynthia      0.20   370.00     $ 74.00
             fees (.1); email to/from M. Patterson regarding   M.* (10258)
             same (.1)




12/05/2023   Prepare certificate of no objection regarding     Giobbe, Cynthia      0.20   370.00     $ 74.00
             Baker third monthly fee application (.1); email   M.* (10258)
             to M. Patterson regarding same (.1)




12/06/2023   Review/revise and circulate omnibus fee           Patterson,           0.90   720.00    $ 648.00
             order                                             Morgan L. (2372)




12/06/2023   Email to/from M. Patterson regarding CNO          Giobbe, Cynthia      1.60   370.00    $ 592.00
             regarding Baker third monthly fee application     M.* (10258)
             (.1); efile same (.1); email to M. VanNiel
             regarding same (.1); email (x3) to/from M.
             Patterson regarding certification of counsel
             and order regarding interim fees (.2); email to
             S. Ludovici regarding same (.1); email (x6)
             to/from Debtors' professional and Committee
             professionals regarding same (.3); revise
             omnibus order regarding Troutman comments
             (.1); further revise COC and omnibus order

                                                          Page 14
                     Case 23-10831-MFW              Doc 956-2       Filed 02/07/24   Page 15 of 29
  Lordstown Motors Corp (DE)                                                                   120360.0001.8/4879069
  Lordstown Motors Corp.


             (.6)




12/07/2023   Email to S. Ludovici regarding interim fees;        Giobbe, Cynthia      0.40   370.00    $ 148.00
             prepare COC and order for filing (.2); email to     M.* (10258)
             M. Patterson regarding same (.1); efile COC,
             upload order (.1)




12/08/2023   Address preparation for interim fee hearing         Patterson,           0.60   720.00    $ 432.00
                                                                 Morgan L. (2372)




12/11/2023   Calls with co-counsel regarding fee hearing         Patterson,           1.10   720.00    $ 792.00
             preparation (.4); call with counsel to Jefferies    Morgan L. (2372)
             regarding same (.3); address pro hac for
             Jefferies counsel for fee hearing (.4)




12/11/2023   Revise certification of counsel regarding           Giobbe, Cynthia      2.60   370.00    $ 962.00
             omnibus order (.4); prepare COC and order           M.* (10258)
             regarding Troutman fees (.4); email to M.
             Patterson regarding same (.1); email (x3)
             to/from S. Ruben regarding notice of
             supplement to exhibit B of monthly fee
             application (.2); prepare notice (.4); email (x3)
             to M. Patterson regarding review of same (.1);
             efile notice (.1); coordinate service to
             Chambers (.1); prepare CNO regarding
             Silverman fourth monthly fee application (.2);

                                                            Page 15
                     Case 23-10831-MFW             Doc 956-2        Filed 02/07/24   Page 16 of 29
  Lordstown Motors Corp (DE)                                                                   120360.0001.8/4879069
  Lordstown Motors Corp.


             email to M. Patterson regarding review of
             same (.1); prepare CNO regarding Womble
             Bond first monthly fee application (.2); efile
             certification of counsel regarding fees (.2);
             email to M. Patterson regarding same (.1)




12/12/2023   Email (x2) to S. Ludovici regarding Silverman       Giobbe, Cynthia      0.20   370.00     $ 74.00
             CNO regarding fourth monthly fee application;       M.* (10258)
             efile same




12/14/2023   Retrieve entered omnibus interim order (.1);        Giobbe, Cynthia      0.40   370.00    $ 148.00
             coordinate service of same (.1); email (x3) to      M.* (10258)
             S. Ludovici regarding same (.2)




12/18/2023   Email to/from M. VanNiel and S. Ludovici            Giobbe, Cynthia      0.90   370.00    $ 333.00
             regarding Baker's fourth monthly fee                M.* (10258)
             application (.1); revise fee application and
             notice (.4); email to M. Patterson regarding
             same (.1); efile same (.1); coordinate service
             of same (.1); calendar deadlines (.1)




12/18/2023   Prepare certificate of no objection regarding       Giobbe, Cynthia      0.20   370.00     $ 74.00
             White & Case fourth monthly fee application         M.* (10258)




                                                              Page 16
                     Case 23-10831-MFW               Doc 956-2       Filed 02/07/24   Page 17 of 29
  Lordstown Motors Corp (DE)                                                                    120360.0001.8/4879069
  Lordstown Motors Corp.


12/19/2023   Email (x2) to/from S. Ludovici regarding CNO         Giobbe, Cynthia      0.20   370.00     $ 74.00
             regarding White & Case fourth monthly fee            M.* (10258)
             application




12/20/2023   Review/file KPMG fee application (.2); review        Patterson,           0.30   720.00    $ 216.00
             and file CNO for W&C fee app (.1)                    Morgan L. (2372)




12/20/2023   Email to/from D. Kim regarding KPMG third            Giobbe, Cynthia      0.60   370.00    $ 222.00
             monthly fee application (.1); prepare notice         M.* (10258)
             regarding same (.1); prepare application,
             notice and exhibits for filing (.1); efile same
             (.1); coordinate same (.1); calendar deadlines
             (.1)




12/21/2023   Email to/from S. Ludovici regarding Silverman        Giobbe, Cynthia      0.90   370.00    $ 333.00
             fifth monthly fee application (.1); prepare          M.* (10258)
             notice regarding same (.1); prepare
             application and exhibits for filing (.1); email to
             M. Patterson regarding review of same (.1);
             efile application (.1); calendar deadlines (.1);
             coordinate service of same (.1); efile White &
             Case CNO regarding fourth monthly fee
             application (.1); email to M. Port regarding
             same (.1)

12/22/2023   Email to S. Harbuck regarding KCC fourth             Giobbe, Cynthia      0.30   370.00    $ 111.00
             monthly fee application (.1); email to M.            M.* (10258)
             Patterson regarding same (.1); efile certificate
             of no objection (.1)




                                                             Page 17
                     Case 23-10831-MFW             Doc 956-2        Filed 02/07/24    Page 18 of 29
   Lordstown Motors Corp (DE)                                                                          120360.0001.8/4879069
   Lordstown Motors Corp.


                                                                                                              $ 6,917.00
                                                                                     Total for Task:

BKG - General Case Administration

12/01/2023   Revise weekly critical dates calendar               Giobbe, Cynthia        0.20     370.00         $ 74.00
                                                                 M.* (10258)




12/06/2023   Revise critical dates calendar                      Giobbe, Cynthia        0.20     370.00         $ 74.00
                                                                 M.* (10258)




12/07/2023   Email to W&C and WBD teams regarding                Giobbe, Cynthia        0.30     370.00        $ 111.00
             daily docket distribution (.1); prepare COC         M.* (10258)
             regarding 1/25/24 omnibus hearing (.1); email
             to M. Patterson regarding same (.1)




12/08/2023   Update weekly critical dates calendar (.3);         Giobbe, Cynthia        0.60     370.00        $ 222.00
             email to W&C and WBD teams regarding                M.* (10258)
             same (.1); retrieve ECF filings (.1); calendar
             deadlines regarding same (.1)




                                                              Page 18
                    Case 23-10831-MFW            Doc 956-2       Filed 02/07/24    Page 19 of 29
   Lordstown Motors Corp (DE)                                                                       120360.0001.8/4879069
   Lordstown Motors Corp.


12/11/2023   Email (x3) to/from M. Patterson regarding S.     Giobbe, Cynthia        0.60     370.00        $ 222.00
             Rubin PHV (.2); prepare same (.2); email to S.   M.* (10258)
             Ruben regarding review of same (.1);
             payment of PHV fee (.1); efile pro hac vice
             motion




                                                                                                            $ 703.00
                                                                                  Total for Task:

BKH - Court Hearings/Preparation/Agenda

12/04/2023   Prepare 12/19/23 confirmation Agenda             Giobbe, Cynthia        0.70     370.00        $ 259.00
                                                              M.* (10258)




12/05/2023   Revise 12/11/23 agenda (x2)                      Giobbe, Cynthia        0.30     370.00        $ 111.00
                                                              M.* (10258)




12/06/2023   Review/revise and circulate agenda for 12/11     Patterson,             1.20     720.00        $ 864.00
             hearing                                          Morgan L. (2372)




                                                         Page 19
                    Case 23-10831-MFW             Doc 956-2       Filed 02/07/24   Page 20 of 29
  Lordstown Motors Corp (DE)                                                                 120360.0001.8/4879069
  Lordstown Motors Corp.


12/06/2023   Revise 12/11/23 agenda (x3) (.6); email (x4)      Giobbe, Cynthia      0.80   370.00    $ 296.00
             to M. Patterson regarding same (.2)               M.* (10258)




12/07/2023   Review/revise and file agenda for 12/11           Patterson,           0.70   720.00    $ 504.00
             hearing                                           Morgan L. (2372)




12/07/2023   Email to/from R. Szuba regarding 10/31/23         Giobbe, Cynthia      0.80   370.00    $ 296.00
             transcript (.1); prepare 12/11/23 agenda for      M.* (10258)
             filing (.2); email to M. Patterson regarding
             same (.1); efile same (.1); coordinate service
             of same (.1); prepare 12/11/23 amended
             agenda (.2)




12/08/2023   Review and file COC regarding omnibus             Patterson,           0.20   720.00    $ 144.00
             hearing date                                      Morgan L. (2372)




12/08/2023   Email (x2) to/from M. Patterson regarding         Giobbe, Cynthia      1.50   370.00    $ 555.00
             12/11/23 hearing (.1); revise 12/11/23            M.* (10258)
             amended agenda (.1); efile same (.1);
             coordinate service of same (.1); register S.
             Ruben, M. VanNiel, M. Patterson and D.
             Turetsky for 12/11/23 hearing (.2); email to S.
             Ruben regarding zoom link (.1); email to M.
             Van Niel regarding zoom link (.1); efile
             certification of counsel regarding 1/25/23
             hearing, upload order (.1); retrieve entered
             order (.1); coordinate service of same (.1);

                                                            Page 20
                    Case 23-10831-MFW              Doc 956-2    Filed 02/07/24   Page 21 of 29
  Lordstown Motors Corp (DE)                                                               120360.0001.8/4879069
  Lordstown Motors Corp.


             revise 12/19/23 hearing agenda (.4)




12/11/2023   Prepare for and attend fee hearing             Patterson,            1.60   720.00   $ 1,152.00
                                                            Morgan L. (2372)




12/11/2023   Revise 12/19/23 hearing agenda (x2)            Giobbe, Cynthia       0.80   370.00    $ 296.00
                                                            M.* (10258)




12/12/2023   Multiple telephone calls White & Case, with    Detweiler,            0.30   845.00    $ 253.50
             emails to Committee counsel regarding          Donald J.
             potential rescheduling on 12/19/2023 hearing   (10135)




12/12/2023   Address rescheduling of confirmation hearing   Patterson,            0.50   720.00    $ 360.00
                                                            Morgan L. (2372)




                                                        Page 21
                    Case 23-10831-MFW            Doc 956-2        Filed 02/07/24   Page 22 of 29
  Lordstown Motors Corp (DE)                                                                 120360.0001.8/4879069
  Lordstown Motors Corp.


12/13/2023   Multiple emails with White & Case team           Detweiler,            0.30   845.00    $ 253.50
             regarding 12/19/2023 hearing and potential       Donald J.
             rescheduling of hearing (.3)                     (10135)




12/13/2023   Emails to and from Committee counsel             Detweiler,            0.20   845.00    $ 169.00
             regarding 19/2023 hearing and potential          Donald J.
             rescheduling of hearing                          (10135)




12/13/2023   Emails to Brown Rudnick and Troutman             Detweiler,            0.30   845.00    $ 253.50
             Pepper regarding potential continuance of        Donald J.
             December 19 hearing to January 10                (10135)




12/13/2023   Revise 12/19/23 hearing agenda (x2) (.7);        Giobbe, Cynthia       0.80   370.00    $ 296.00
             email (x3) to/from D. Detweiler regarding        M.* (10258)
             same (.1)




12/14/2023   Multiple calls with David Turetsky and team      Detweiler,            0.30   845.00    $ 253.50
             regarding December 19 hearing and                Donald J.
             rescheduling matters to January 10               (10135)




                                                           Page 22
                    Case 23-10831-MFW             Doc 956-2        Filed 02/07/24   Page 23 of 29
  Lordstown Motors Corp (DE)                                                                  120360.0001.8/4879069
  Lordstown Motors Corp.


12/14/2023   Telephone call M. Patterson regarding             Detweiler,            0.20   845.00    $ 169.00
             rescheduling of December 19th hearing to          Donald J.
             January 10 and open case issues                   (10135)




12/14/2023   Email to L. Capp, Deputy Courtroom Clerk          Detweiler,            0.30   845.00    $ 253.50
             regarding rescheduling of December 19th           Donald J.
             hearing to January 10 and resolved matters        (10135)




12/14/2023   Follow-up calls with White & Case team            Detweiler,            0.20   845.00    $ 169.00
             regarding December 19th hearing and open          Donald J.
             issues                                            (10135)




12/15/2023   Review/revise agenda and file (.8)                Patterson,            0.80   720.00    $ 576.00
                                                               Morgan L. (2372)




12/15/2023   Revise 12/19/23 hearing agenda (.4); efile        Giobbe, Cynthia       1.50   370.00    $ 555.00
             same (.1); coordinate service of same (.1);       M.* (10258)
             prepare 1/10/24 agenda (.2); prepare notice
             of confirmation hearing (.3); email to M.
             Patterson regarding same (.1); calendar
             deadlines regarding same (.1); efile revised
             notice of confirmation hearing (.1); coordinate
             service of same (.1)




                                                          Page 23
                     Case 23-10831-MFW          Doc 956-2     Filed 02/07/24    Page 24 of 29
   Lordstown Motors Corp (DE)                                                                    120360.0001.8/4879069
   Lordstown Motors Corp.


12/20/2023    Revise 1/10/24 hearing agenda                Giobbe, Cynthia        0.20     370.00         $ 74.00
                                                           M.* (10258)




                                                                                                        $ 8,112.50
                                                                               Total for Task:

BKLT - Litigation

12/06/2023    Address oral argument requests for Foxconn   Patterson,             0.70     720.00        $ 504.00
              adversary                                    Morgan L. (2372)




12/08/2023    Review and address Committee deposition      Patterson,             0.50     720.00        $ 360.00
              notices                                      Morgan L. (2372)




12/18/2023    Review and file COC and order for SEC        Patterson,             0.40     720.00        $ 288.00
              motion                                       Morgan L. (2372)




                                                                                                        $ 1,152.00
                                                                               Total for Task:

BKM - Other Motion Practice




                                                        Page 24
                    Case 23-10831-MFW             Doc 956-2      Filed 02/07/24    Page 25 of 29
   Lordstown Motors Corp (DE)                                                                       120360.0001.8/4879069
   Lordstown Motors Corp.


12/05/2023   Email to W&C and WBD teams regarding             Giobbe, Cynthia        0.10     370.00         $ 37.00
             repurchase motion                                M.* (10258)




12/06/2023   Prepare certificate of no objection regarding    Giobbe, Cynthia        0.50     370.00        $ 185.00
             motion to repurchase (.2); email (x2) to W&C     M.* (10258)
             and WBD teams (.2); efile same, upload order
             (.1)




12/18/2023   Email (x3) to/from M. Patterson regarding        Giobbe, Cynthia        0.90     370.00        $ 333.00
             COC regarding Securities and Exchange            M.* (10258)
             Commission's motion to extend (.2); prepare
             certification and counsel regarding same (.5);
             efile same, upload order (.2)




12/20/2023   Retrieve and review SEC's motion to extend       Giobbe, Cynthia        0.20     370.00         $ 74.00
             (.1); calendar deadline regarding same (.1)      M.* (10258)




                                                                                                            $ 629.00
                                                                                  Total for Task:

BKPO - Plan of Reorganization




                                                           Page 25
                    Case 23-10831-MFW             Doc 956-2        Filed 02/07/24   Page 26 of 29
  Lordstown Motors Corp (DE)                                                                  120360.0001.8/4879069
  Lordstown Motors Corp.


12/01/2023   Email (x4) to/from R. Szuba regarding plan        Giobbe, Cynthia       1.90   370.00    $ 703.00
             supplement and confirmation order (.2); email     M.* (10258)
             to/from F. He regarding same (.1); email (x3)
             to/from KCC regarding service (.2); prepare
             plan supplement for filing (.5); prepare
             confirmation order for filing (.4); email (x4)
             to/from D. Detweiler regarding same (.2); efile
             plan supplement (.1); efile confirmation order
             (.1); coordinate service of same (.1)


12/08/2023   Email to/from R. Szuba and M. Patterson           Giobbe, Cynthia       0.10   370.00     $ 37.00
             regarding confirmation objections                 M.* (10258)




12/12/2023   Multiple emails regarding Creditor voting         Detweiler,            0.30   845.00    $ 253.50
             issue; emails to creditor and White & Case        Donald J.
             regarding same                                    (10135)




12/12/2023   Telephone call D. Turetsky regarding creditor     Detweiler,            0.30   845.00    $ 253.50
             voting issue (.2); call with M. Patterson         Donald J.
             regarding creditor voting issue (.1)              (10135)




12/29/2023   Email (x3) to/from D. Detweiler and R. Szuba      Giobbe, Cynthia       0.40   370.00    $ 148.00
             regarding supplemental plan supplement (.2);      M.* (10258)
             meeting with D. Detweiler regarding same (.2)




                                                          Page 26
                       Case 23-10831-MFW            Doc 956-2       Filed 02/07/24      Page 27 of 29
   Lordstown Motors Corp (DE)                                                                           120360.0001.8/4879069
   Lordstown Motors Corp.


                                                                                                                $ 1,395.00
                                                                                      Total for Task:

BKRS - Reports and Schedules

12/19/2023     Review/file MORs and amended MORs               Patterson,                 1.10     720.00        $ 792.00
                                                               Morgan L. (2372)




                                                                                                                 $ 792.00
                                                                                      Total for Task:

                                                                                  Total for Services:          $ 44,055.50


        *    If an asterisk appears above, it designates a Legal Assistant or other non-lawyer professional.




                                                            Page 27
                       Case 23-10831-MFW             Doc 956-2      Filed 02/07/24        Page 28 of 29
      Lordstown Motors Corp (DE)                                                                       120360.0001.8/4879069
      Lordstown Motors Corp.


  
                                                  TIMEKEEPER SUMMARY


Attorney:                                                                       Hours:             Amount:            Rate:

Patterson, Morgan L.                                                             34.30           $ 24,696.00        $ 720.00

Detweiler, Donald J.                                                               2.90           $ 2,450.50        $ 845.00

Giobbe, Cynthia M.*                                                              45.70           $ 16,909.00        $ 370.00

                                                              Totals:            82.90           $ 44,055.50


              * If an asterisk appears above, it designates a Legal Assistant or other non-lawyer professional.




                                                            Page 28
                    Case 23-10831-MFW             Doc 956-2       Filed 02/07/24       Page 29 of 29
 Lordstown Motors Corp (DE)                                                                          120360.0001.8/4879069
 Lordstown Motors Corp.



                                     TASK SUMMARY BILLING INFORMATION
Task Code              Task Description                                                    Hours                 Amount
BKAD                   Asset Disposition - General                                          12.40              $ 6,478.00
BKAV                   Adversary                                                             0.30                $ 111.00
BKBD                   Bar Date                                                              3.20              $ 1,779.00
BKBO                   Business Operations/Meetings with Debtor                              2.40                $ 888.00
BKCO                   Claims Objections                                                     2.80              $ 1,561.00
BKD                    Documentations/Plan Negotiation                                       6.50              $ 4,680.00
BKE                    Executory Contracts/Lease Agreements                                 13.10              $ 7,357.00
BKF                    Fee Application/Monthly Billing                                       3.30              $ 1,501.00
BKFO                   Fees of Others                                                       15.10              $ 6,917.00
BKG                    General Case Administration                                           1.90                $ 703.00
BKH                    Court Hearings/Preparation/Agenda                                    14.50              $ 8,112.50
BKLT                   Litigation                                                            1.60              $ 1,152.00
BKM                    Other Motion Practice                                                 1.70                $ 629.00
BKPO                   Plan of Reorganization                                                3.00              $ 1,395.00
BKRS                   Reports and Schedules                                                 1.10                $ 792.00
                                                                        Total               82.90             $ 44,055.50



                                         Use of Legal Support Service Providers

In an effort to continue delivering cost effective services, WBD (US) uses legal support service providers located both inside
and outside the U.S. to assist with help desk and technology issues, word processing, time entry, photocopying and other
administrative tasks. In order for these service providers to complete these tasks, we must share certain client information.
WBD (US) has made reasonable efforts to ensure that these services are performed in a manner that is consistent with our
firm’s obligations under the relevant Rules of Professional Conduct with regard to maintaining client confidentiality and
supervision of non-lawyer assistants, and the firm bears responsibility for the resulting work product. As part of the
engagement with the firm, you agree and consent to the use of the services of these providers in the manner stated above.




                                                          Page 29
